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12
                                    UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN JOSE DIVISION
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17   APPLE INC., a California corporation,              Case No. 11-cv-01846-LHK
18                     Plaintiff,                       APPLE’S ADMINISTRATIVE
                                                        MOTION TO FILE DOCUMENTS
19          v.                                          UNDER SEAL RE APPLE’S
                                                        OPPOSITION TO SAMSUNG’S
20   SAMSUNG ELECTRONICS CO., LTD., a                   MOTION FOR SUMMARY
     Korean corporation; SAMSUNG                        JUDGMENT
21   ELECTRONICS AMERICA, INC., a New
     York corporation; and SAMSUNG
22   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,
23
                       Defendants.
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     APPLE’S ADMIN. MOTION TO FILE UNDER SEAL RE OPP. TO SAMSUNG’S MOT. FOR SUMMARY JUDGMENT
     CASE NO. 11-CV-01846-LHK
     sf-3150843
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 1          In accordance with Civil Local Rules 7-11 and 79-5, and General Order No. 62, Apple Inc.
 2   (“Apple”) submits this motion for an order to seal the following documents or portions thereof:
 3          1.      The confidential, unredacted version of the Declaration of Peter W. Bressler in
 4   Support of Apple’s Opposition to Samsung’s Motion for Summary Judgment (“Bressler
 5   Declaration”); and
 6          2.      Exhibits 21, 22, 25-58, 67-82, and 94-95 to the Bressler Declaration.
 7          Exhibits 42-59, 73-82, and 95 to the Bressler Declaration contain information that is
 8   highly confidential as set out in the Declaration of Cyndi Wheeler in Support of Apple’s
 9   Administrative Motion to File Documents Under Seal (“Wheeler Declaration”) (Dkt. No. 998). It
10   is Apple’s policy not to disclose or describe to third parties its confidential financial, design, trade
11   secrets, or product development information. (Wheeler Declaration ¶ 11.) The Apple-
12   confidential material in these exhibits relate to such confidential information, as detailed in the
13   Wheeler Declaration. (Id. ¶ 1-10.) This information is highly confidential to Apple and could be
14   used by Apple’s competitors to Apple’s disadvantage if disclosed publicly. (Id. ) The relief
15   requested in this motion is necessary and is narrowly tailored to protect confidential information,
16   focusing only on specific portions of the documents at issue. (Id. ¶ 14.)
17          Exhibits 21, 22, 25-41, 67-72, and 94 to the Bressler Declaration contain materials that
18   Samsung has designated as confidential under the protective order entered in this case. Apple
19   expects that, pursuant to Civil Local Rule 79-5(d), Samsung will file a declaration seeking to
20   establish good cause to permit the sealing of these materials.
21          Finally, to the extent the Bressler Declaration refers to or discusses the above-referenced
22   confidential materials, it could be used to Apple’s disadvantage by competitors if they were not
23   filed under seal, for the same reasons. (Id. ¶ 13.)
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     APPLE’S ADMIN. MOTION TO FILE UNDER SEAL RE OPP. TO SAMSUNG’S MOT. FOR SUMMARY JUDGMENT
     CASE NO. 11-CV-01846-LHK                                                                              1
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 1          Pursuant to Civil Local Rule 79-(c), Apple will lodge with the Clerk the documents at
 2   issue with the sealable portions highlighted.
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     Dated: May 31, 2012                             MORRISON & FOERSTER LLP
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                                                     By:   /s/ Michael A. Jacobs
 7                                                         MICHAEL A. JACOBS
 8                                                         Attorneys for Plaintiff
                                                           APPLE INC.
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     APPLE’S ADMIN. MOTION TO FILE UNDER SEAL RE OPP. TO SAMSUNG’S MOT. FOR SUMMARY JUDGMENT
     CASE NO. 11-CV-01846-LHK                                                                       2
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